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                     Exhibit 6
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                                                                                            US010771302B2


( 12 ) LiUnited   States Patent                                          ( 10) Patent No .: US 10,771,302 B2
           et al.                                                        (45) Date of Patent :   * Sep . 8 , 2020
(54) CHANNEL PROBING SIGNAL FOR A                                   ( 56 )                  References Cited
       BROADBAND COMMUNICATION SYSTEM
                                                                                      U.S. PATENT DOCUMENTS
( 71 ) Applicant: Neo Wireless LLC , Wayne, PA ( US )                        5,909,436 A     6/1999 Engstrom et al .
                                                                             6,771,706 B2    8/2004 Ling et al .
( 72 ) Inventors: Xiaodong Li , Kirkland , WA (US );                                           ( Continued )
                  Titus Lo , Bellevue , WA (US ); Kemin
                    Li , Bellevue, WA (US ) ; Haiming                              FOREIGN PATENT DOCUMENTS
                    Huang , Bellevue , WA ( US )
                                                                    CN                 1407745 A        4/2003
( 73 ) Assignee : Neo Wireless LLC , Wayne, PA (US )                CN                 1445949 A       10/2003
( * ) Notice :      Subject to any disclaimer, the term of this                                ( Continued )
                    patent is extended or adjusted under 35                            OTHER PUBLICATIONS
                    U.S.C. 154 ( b ) by 0 days.
                    This patent is subject to a terminal dis        Extended European Search Report received for counterpart Euro
                    claimer .                                       pean Patent Application No. 18196596.3 , dated Feb. 20 , 2019 ( 8
                                                                    pages).
( 21 ) Appl. No .: 15 /953,950                                                                 (Continued )
( 22) Filed :      Apr. 16 , 2018
                                                                    Primary Examiner — Dimitry Levitan
(65 )                 Prior Publication Data                        (74 ) Attorney, Agent, or Firm — Volpe and Koenig, P.C.
       US 2019/0089566 A1           Mar. 21 , 2019
                                                                    ( 57 )                    ABSTRACT
                Related U.S. Application Data
                                                                    In a broadband wireless communication system , a spread
( 63 ) Continuation of application No. 14/ 321,615 , filed on       spectrum signal is intentionally overlapped with an OFDM
       Jul. 1 , 2014 , now Pat . No. 9,948,488 , which is a         signal, in a time domain, a frequency domain, or both . The
                          (Continued )                              OFDM signal , which inherently has a high spectral effi
                                                                    ciency, is used for carrying broadband data or control
( 51 ) Int . Cl .                                                   information . The spread spectrum signal , which is designed
       H04L 12/26               ( 2006.01 )                         to have a high spread gain for overcoming severe interfer
       H04L 27/26                ( 2006.01 )                        ence, is used for facilitating system functions such as initial
                          ( Continued )                             random access , channel probing , or short messaging. Meth
( 52 ) U.S. Cl .                                                    ods and techniques are devised to ensure that the mutual
       CPC            H04L 27/2626 (2013.01 ) ; H04B 1/707          interference between the overlapped signals is minimized to
                           ( 2013.01 ) ; H04B 1/711 ( 2013.01 ) ;   have insignificant impact on either signal and that both
                          (Continued )                              signals are detectable with expected performance by a
                                                                    receiver.
( 58 ) Field of Classification Search
       CPC                                           HO4L 12/26
                          (Continued )                                               36 Claims , 18 Drawing Sheets
                                                                    1002




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                                                     US 10,771,302 B2
                                                               Page 2

              Related U.S. Application Data                         (56 )                     References Cited
       continuation of application No. 13 / 861,942 , filed on                           U.S. PATENT DOCUMENTS
       Apr. 12 , 2013 , now Pat. No. 8,767,522 , which is a                 7,274,652 B1        9/2007 Webster et al .
       continuation of application No. 13 /347,644 , filed on               7,873,009 B2 *      1/2011 Larsson            H04W 28/18
       Jan. 10 , 2012 , now Pat . No. 8,428,009 , which is a                                                                 370/330
       continuation of application No. 12 / 975,226 , filed on              8,102,832 B2 * 1/2012 Agrawal                 H04B 1/713
       Dec. 21 , 2010 , now Pat. No. 8,094,611 , which is a                                                                  370/342
       continuation of application No. 10/ 583,229 , filed as               8,363,691 B2 * 1/2013 Hasegawa                HO4B 1/707
       application No. PCT /US2005 / 003518 on Jan. 27 ,                                                                     370/335
                                                                        2001/0021182 A1         9/2001 Wakutsu
       2005 , now Pat . No. 7,864,725 .                                 2002/0159422 A1        10/2002 Li et al.
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( 60 ) Provisional application No. 60 /540,586 , filed on Jan.          2004/0085946 Al         5/2004 Morita et al .
       30 , 2004, provisional application No. 60 /540,032 ,             2004/0171357 A1
                                                                        2004/0264600 Al
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       filed on Jan. 29 , 2004 .                                        2006/0114815 Al         6/2006 Hasegawa et al .
                                                                        2006/0245409 Al        11/2006 Korpela et al .
                                                                        2008/0304551 Al        12/2008 Li et al.
( 51 ) Int. CI.                                                         2011/0211617 Al         9/2011 Li et al .
       H04L 5/00                   ( 2006.01 )                          2011/0299474 Al        12/2011 Li et al .
                                                                        2012/0106513 Al         5/2012 Li et al .
       H04L 25/03                  ( 2006.01)
       H04L 27/00                  ( 2006.01 )                                         FOREIGN PATENT DOCUMENTS
       H04B 1/707                  ( 2011.01 )                      CN                     1452326        10/2003
       H04B 1/711                  ( 2011.01 )                      WO                  2003058881 A2      7/2003
       H04L 25/02                  ( 2006.01 )
(52) U.S. CI.                                                                              OTHER PUBLICATIONS
     CPC          H04L 5/0007 ( 2013.01 ) ; H04L 5/0028             European Telecommunications Standards Institute, Digital Video
            (2013.01 ) ; H04L 25/03834 ( 2013.01 ) ; H04L           Broadcasting ( DVB ) ; Framing structure, channel coding and modu
           27/0008 ( 2013.01 ) ; H04L 27/0012 ( 2013.01 ) ;         lation for digital terrestrial television, ETSI EN 300 744 V1.5.1
                H04L 27/2602 (2013.01 ) ; H04L 27/2647              ( Jun . 2004 ) .
               (2013.01 ) ; H04L 5/0016 (2013.01 ) ; H04L           IEEE Standard for Local and metropolitan area networks; Part 16 :
           25/0228 (2013.01 ) ; H04L 27/2607 ( 2013.01 ) ;          Air Interface for Fixed Broadband Wireless Access Systems
                                  H04L 27/2655 (2013.01 )           Amendment 2 : Medium Access Control Modifications and Addi
                                                                    tional Physical Layer Specifications for 2-11 GHz , IEEE Std .
( 58 ) Field of Classification Search                               802.16a - 2003 ( Apr. 1 , 2003 ) .
       USPC          370/241 , 252 , 310 , 328 , 330 , 464 , 532
       See application file for complete search history .           * cited by examiner
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Case 2:22-cv-11402-TGB ECF No. 1-6, PageID.126 Filed 03/29/22 Page 5 of 28


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Case 2:22-cv-11402-TGB ECF No. 1-6, PageID.127 Filed 03/29/22 Page 6 of 28


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Case 2:22-cv-11402-TGB ECF No. 1-6, PageID.128 Filed 03/29/22 Page 7 of 28


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Case 2:22-cv-11402-TGB ECF No. 1-6, PageID.129 Filed 03/29/22 Page 8 of 28


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Case 2:22-cv-11402-TGB ECF No. 1-6, PageID.130 Filed 03/29/22 Page 9 of 28


U.S. Patent         Sep. 8, 2020                Sheet 6 of 18      US 10,771,302 B2




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Case 2:22-cv-11402-TGB ECF No. 1-6, PageID.131 Filed 03/29/22 Page 10 of 28


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Case 2:22-cv-11402-TGB ECF No. 1-6, PageID.132 Filed 03/29/22 Page 11 of 28


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Case 2:22-cv-11402-TGB ECF No. 1-6, PageID.133 Filed 03/29/22 Page 12 of 28


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Case 2:22-cv-11402-TGB ECF No. 1-6, PageID.134 Filed 03/29/22 Page 13 of 28


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Case 2:22-cv-11402-TGB ECF No. 1-6, PageID.136 Filed 03/29/22 Page 15 of 28


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Case 2:22-cv-11402-TGB ECF No. 1-6, PageID.137 Filed 03/29/22 Page 16 of 28


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Case 2:22-cv-11402-TGB ECF No. 1-6, PageID.138 Filed 03/29/22 Page 17 of 28


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Case 2:22-cv-11402-TGB ECF No. 1-6, PageID.139 Filed 03/29/22 Page 18 of 28


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Case 2:22-cv-11402-TGB ECF No. 1-6, PageID.140 Filed 03/29/22 Page 19 of 28


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Case 2:22-cv-11402-TGB ECF No. 1-6, PageID.141 Filed 03/29/22 Page 20 of 28


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Case 2:22-cv-11402-TGB ECF No. 1-6, PageID.142 Filed 03/29/22 Page 21 of 28


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         CHANNEL PROBING SIGNAL FOR A                                    FIG . 6 is an illustration of MC signals overlaid with DSSS
     BROADBAND COMMUNICATION SYSTEM                                   signals in the frequency domain where the power level of the
                                                                      DSSS signal is much lower than that of the MC signal .
   CROSS -REFERENCE TO RELATED APPLICATION      FIG . 7 is same as FIG . 6 wherein not all MC subchannels
(S )                                       5 are occupied .

   This application is a continuation of U.S. patent applica      FIG . 8 illustrates a transmitter structure of MC and DSSS
tion Ser. No. 14 / 321,615 (now U.S. Pat. No. 9,948,488 ) , overlay system .
filed Jul. 1 , 2014 , which is a continuation application of U.S. FIG . 9 illustrates a receiver structure of MC and DSSS
patent application Ser. No. 13 / 861,942 ( now U.S. Pat. No. 10 overlay system .
8,767,522 ) , filed Apr. 12 , 2013 , which is a continuation        FIG . 10 illustrates examples of communications between
application of U.S. patent application Ser. No. 13 / 347,644 a base station and multiple mobile stations transmitting
( now U.S. Pat. No. 8,428,009 ) , filed Jan. 10 , 2012 , which is DSSS and MC signals .
a continuation application of U.S. patent application Ser. No.      FIG . 11 illustrates a mobile station sending DSSS signals
12 / 975,226 (now U.S. Pat. No. 8,094,611 ) , filed Dec. 21 , 15 to its current serving base station , or other base stations .
2010 , all ofwhich are incorporated herein by reference . U.S.      FIG . 12 illustrates using interference cancellation tech
patent application Ser. No. 12 / 975,226 is a continuation nique to cancel interfering DSSS signal in a composite
application of U.S. patent application Ser. No. 10 /583,229 signal to obtain a clearer MC signal .
(now U.S. Pat. No. 7,864,725 ) , filed Aug. 27 , 2008 , which       FIG . 13 illustrates a DSSS signal and a MC signal fully
is the National Stage Application of International Applica- 20 overlaid or partially overlaid at MC symbol or slot boundary
tion No. PCT /US2005 / 003518 , filed Jan. 27 , 2005 , which in time domain .
claims the benefit of U.S. Provisional Patent Application No.    FIG . 14 illustrates a DSSS signal with a high Peak to
60/ 540,586 , filed   Jan. 30 , 2004 , and of U.S. Provisional        Average Ratio in frequency domain causing strong interfer
Patent Application No. 60/ 540,032 , filed on Jan. 29 , 2004 .        ence to certain MC subcarriers.
                                                                 25       FIG . 15 illustrates using spectrum nulls in DSSS signal to
                      BACKGROUND                                      protect an MC control subchannel .
                                                                          FIG . 16 illustrates spectrum control for DSSS signal using
   A direct Sequence Spread Spectrum (DSSS ) system is simple sub - sampling method .
inherently capable of supporting multi -cell and multi -user              FIG . 17 illustrates examples of communications between
access applications through the use of orthogonal spreading 30 a base station and multiple mobile stations transmitting both
codes . The initial access of the physical channel and fre DSSS and MC signals.
quency planning are relatively easier because of interference             FIG . 18 illustrates a typical channel response in the time
averaging in a DSSS system . It has been widely used in and frequency domains. By estimating the peaks of a chan
some existing wireless networks. However, a DSSS system nel response in the time domain , the channel profile in the
using orthogonal spreading codes , may suffer severely from 35 frequency domain can be obtained .
the loss of orthogonally in a broadband environment due to
multi-path propagation effects, which results in low spectral                           DETAILED DESCRIPTION
efficiency
   In broadband wireless communications, Multi -Carrier                  A broadband wireless communication system where both
(MC) technology is drawing more and more attention 40 the Multi-Carrier (MC) and direct Sequence Spread Spec
because of its capability. An MC system such as an Orthogo             trum (DSSS ) signals are intentionally overlaid together in
nal Frequency Division Multiplexing ( OFDM) system is both time and frequency domains is described . The system
capable of supporting broadband applications with higher takes advantage of both MC and DSSS techniques to miti
spectral efficiency. An MC system mitigates the adverse gate their weaknesses. The MC signal is used to carry
effects of multi-path propagation in wireless environments 45 broadband data signal for its high spectral efficiency, while
by using cyclic prefixes to extend the signal period as the the DSSS signal is used for special purpose processing , such
data is multiplexed on orthogonal sub - carriers. In effect, it as initial random access , channel probing, and short mes
converts a frequency selective channel into a number of saging , in which signal properties such as simplicity , self
parallel flat fading channels which can be easily equalized synchronization, and performance under severe interference
with simple one -tap equalizers. The modulator and the 50 are of concern . In the embodiments of this invention both the
demodulator can be executed efficiently via the fast Fourier MC and the DSSS signals are distinguishable in normal
transform (FFT ) with much lower cost . However, MC operations and the interference between the overlaid signals
systems are vulnerable while operating in multi -user and is insufficient to degrade the expected performance of either
multi - cell environments.                                             signal.
                                                                    55   Unlike a typical CDMA system where the signals are
       BRIEF DESCRIPTION OF THE DRAWINGS                               designed to be orthogonal in the code domain or an OFDM
                                                                       system where the signals are designed to be orthogonal in
   FIG . 1 illustrates a basic structure of a multi - carrier signal frequency domain, the embodiments of this invention over
in the frequency domain , made up of subcarriers .                     lay the MC signal, which is transmitted without or with very
   FIG . 2 illustrates a radio resource being divided into small 60 low spreading, and the DSSS signal, which is transmitted at
units in both frequency and time domains .                             a power level lower than that of the MC signal.
   FIG . 3 illustrates a frame structure of an exemplary                  In accordance with aspects of certain embodiments of this
OFDM system .                                                          invention , the MC signal is modulated on subcarriers in the
   FIG . 4 illustrates three examples of a subframe structure frequency domain while the DSSS signal is modulated by
in the exemplary OFDM system .                                      65 the information bits or symbols in the time domain . In some
   FIG . 5 illustrates slot structure of the OFDM system and          cases the information bits modulating the DSSS sequence
the overlay system .                                                  are always one .
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                               3                                                                    4
  This invention further provides apparatus and means to             One subframe 312 consists of six time slots 314 and two
implement the mentioned processes and methods in a broad special periods 316 , which serve transition time from down
band wireless multi- access and / or multi- cell network , using link to uplink and vise versa . The six time slots in one
advanced techniques such as transmit power control, spread        subframe can be configured as either uplink or downlink
ing signal design , and iterative cancellation .                5 slots symmetrically or asymmetrically .
   The mentioned MC system can be of any special format              FIG . 4 illustrates three examples of a subframe structure
such as OFDM or Multi - Carrier Code Division Multiple in an OFDM system : one symmetric configuration 412 and
Access ( MC - CDMA) . The presented methods and apparatus two asymmetric configurations 414 , each with differing
can be applied to downlink , uplink, or both , where the number of uplink (UL ) and downlink ( DL ) slots . FIG . 5
duplexing technique can be either Time Division Duplexing 10 illustrates a slot structure of an OFDM system and an
( TDD ) or Frequency Division Duplexing ( FDD ) .                 overlay system . One 800 us time slot 510 is comprised of 8
   Various embodiments of the invention are described to OFDM symbols 512 , which are overlaid by DSSS signals
provide specific details for thorough understanding and 514 in the time domain . Two guard periods GP1 and GP2 are
enablement; however, the aspects of the invention may be allocated for the DSSS signal 514 .
practiced without such details. In some instances , well- 15
known structures and functions have not been shown or                                         TABLE 1
described in detail to avoid unnecessarily obscuring the                                Uplink system parameters
essential matters .
  Unless the context clearly requires otherwise , throughout                 Data Rate                      2 , 4 , 8 , 16 , 24 Mbps
the description and the claims , the words “ comprise, ” “ com- 20       Modulation
                                                                         Coding rate
                                                                                                          QPSK , 16 - QAM
                                                                                                          1/8 , 1/4, 1/2 , 3/4
prising," and the like are to be construed in an inclusive               IFFT/FFT size                            1024
sense as opposed to an exclusive or exhaustive sense ; that is           OFDM symbol duration                         100 us
to say, in the sense of “ including , but not limited to . ” Words       Guard interval                             11.11 us
using the singular or plural number also include the plural or           Subcarrier spacing
                                                                         System sampling rate ( fs)
                                                                                                               9.765625 kHz
singular number respectively. Additionally, the words 25                 Channel spacing
                                                                                                                    11.52 MHz
                                                                                                                       10 MHz
“herein ,” “ above,” “ below ” and words of similar import,
when used in this application, shall refer to this application
as a whole and not to any particular portions of this Detailed Description of a MC and DSSS Overlay System
application. When the claims use the word “ or ” in reference      FIG . 5 illustrates the overlay of the MC and DSSS signals,
to a list of two or more items , that word covers all of the 30 where the DSSS signal overlaps with the MC signal in the
following interpretations of the word : any of the items in the time domain . The overlaid signal can be aligned at the
list , all of the items in the list and any combination of the       boundary of MC slot or MC symbol when they are synchro
items in the list .                                                  nized ( for example, DSSS signal #k in FIG . 5 ) . It can also
Multi -Carrier Communication System                                  be not aligned when they are not synchronized ( for example,
  The physical media resource ( e.g. , radio or cable) in a 35 DSSS signal #j in FIG . 5 ) . In one embodiment, the DSSS
multi - carrier communication system can be divided in both          signal is placed at the period of cyclic prefix of the OFDM
the frequency and time domains . This canonical division symbol.
provides a high flexibility and fine granularity for resource        FIG . 6 is an illustration of MC signals overlaid with DSSS
sharing                                                           signals in the frequency domain where the power level of the
   The basic structure of a multi - carrier signal in the fre- 40 DSSS signal is much lower than that of the MC signal . The
quency domain is made up of subcarriers. Within a particular         subcarriers in a subchannel are not necessarily adjacent to
spectral band or channel, there are a fixed number of                each other in the frequency domain . FIG . 7 is similar to FIG .
subcarriers. There are three types of subcarriers:                   6 wherein not all MC subchannels are occupied . It illustrates
1. Data subcarriers , which contain information data ;               a scenario where some MC subchannels are not energized .
2. Pilot subcarriers, whose phases and amplitudes are pre- 45 In another embodiment, the MC signal is modulated on
   determined and made known to all receivers and which subcarriers in the frequency domain while the DSSS signal
   are employed for assisting system functions such as is modulated in either the time domain or the frequency
   estimation of system parameters; and                                domain . In one embodiment the modulation symbol on the
3. Silent subcarriers, which have no energy and are used for DSSS sequence is one and the sequence is unmodulated .
   guard bands and DC carrier.                                      50   FIG . 8 illustrates a transmitter structure 800 of an MC and
   FIG . 1 illustrates a basic structure of a multi - carrier signal DSSS overlay system , wherein the MC signal and DSSS
in the frequency domain , made up of subcarriers. The data signal are added together prior to Digital to Analog (D/A)
subcarriers can be arranged into groups called subchannels conversion 830. In FIG . 8 , the top branch 810 is an OFDM
to support scalability and multiple -access. The carriers transmitter and the bottom branch 820 is the spread spec
forming one subchannel are not necessarily adjacent to each 55 trum transmitter. In the MC transmitter, the S/ P buffer
other. As depicted in FIG . 1 , each user may use part or all        converts the sequential inputs into parallel outputs , which
of the subchannels.                                                  are in turn inputted to the inverse discrete Fourier transform
  FIG . 2 illustrates a radio resource being divided into small    (IDFT ) . The outputs from the IDFT are the time domain
units in both frequency ( subchannels) and time domains signals, which are converted from parallel to sequential
(time slots ) . The basic structure of an MC signal in the time 60 signals after a cyclic prefix is added . Adding the prefix can
domain is made up of time slots to support multiple -access. also be performed after the P/ S conversion . In the spread
An Exemplary MC System                                             spectrum transmitter, the DSSS sequence is modulated by
   An OFDM system is used in the system as a special case the information bits or symbols and the modulated signals
of an MC system . The system parameters for the uplink will undergo pulse - shaping filtering so that the signal spec
under consideration are listed in Table 1. FIG . 3 illustrates 65 trum meets specified criteria .
a frame structure of a suitable OFDM system . In this system ,       A digital attenuator ( G1 ) is used for the DSSS signal to
a 20 ms frame 310 is divided into four 5 ms subframes 312 .          adjust its transmitted signal level relative to the MC signal .
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                                          5                                                            6
The two signals are overlaid in the digital domain before      In one embodiment, the DSSS signal is power controlled
converting to a composite analog signal. A second analog such that Pss is well below the noise level, N.
variable gain ( G2 ) is used subsequent to the D / A converter On the other hand, the SINR for the DSSS signal is
830 to further control the power level of the transmitted             ' ss = Pss/(N + I +Pmc)
                                                                  SINR'S                                              (5)
signal. When the MC signal is not present, both G1 and G2 5
will be applied to the DSSS signal to provide sufficient       Denoting the spreading factor for the DSSS signal as KSF ,
transmission dynamic range . G2 can be realized in multiple the effective SINR for one symbol after despreading is :
circuit stages.                                                   SINR'S' ss = Pss *KsF /(N + I +PMC)                ( 6)
   FIG . 9 illustrates a receiver structure 900 of an MC and
DSSS overlay system . A composite signal is processed by a 10 SINR'ss must be high enough to meet the performance
MC receiver 910 and DSSS receiver 920. At the receiver requirement when detecting or decoding the information
side , after automatic gain control (AGC ) , an Analog-to    conveyed in the DSSS signal . In one embodiment, Kse is
Digital ( A / D ) converter 930 converts the received analog chosen to be 1000 , so that the DSSS signal is boosted with
signal to digital signal. The MC receiver basically performs 30 dB spreading gain after despreading.
a reverse process of the MC transmitter. The MC synchro- 15 FIG . 11 illustrates a mobile station 1110 sending DSSS
nization circuit carries out the synchronization in both time signals to its current serving base station or other base
and frequency for the receiver to function properly. The stations . The latter case is especially helpful in hand - off
outputs of the P/ S are information bits or symbols. To detect processes. In this Figure, a mobile station MS , is commu
whether a DSSS signal is present, the signal is despread with nicating with a BS , using an MC signal while transmitting a
a matched filter or a correlator, using the access sequence, to 20 DSSS signal to BSK
check if the correlation peak exceeds a predefined threshold . Power Control
The information from the DSSS receiver 920 will then be             As discussed above, one design issue is to minimize the
used to decode the mobile station's signature in the case of power of the DSSS signal to reduce its interference with the
initial random access ; to derive the channel information in MC data signal . In one embodiment, the initial power setting
the case of channel probing; or to decode the information bit 25 of a mobile station , TMS (in dBm) , is set based on path
in the case of short messaging .                                 loss , L path ( in dB ) , and the desired received power level at
   In one embodiment a rake receiver is used in the DSSS the base station, PBS_rx_des (in dBm ),
receiver 920 to improve its performance in a multi- path                TMS_or = PBS_rx_des + Lpath - C1 - C2
environment. In another embodiment, the MC signal is
processed as if no DSSS signal is present. In yet another 30 C ( in dB ) is set to a proper value so that the SINR of the
embodiment, advanced interference cancellation techniques MC as specified in equation ( 4 ) meets its requirement. C2 ( in
can be applied to the composite signal to cancel the DSSS dB ) is an adjustment to compensate for the power control
signal from the composite signal thus maintaining almost the inaccuracy . Open loop power control inaccuracy is mainly
same MC performance.                                             caused by a discrepancy between an estimated path loss by
   The transmitted composite signal for user i can be repre- 35 the mobile station and the actual path loss .
sented by :                                                         In one embodiment, C is set to 9 dB for MC using QPSK
                                                                 modulation with 1/2 error control coding or 15 dB for MC
      s¡(t) = G_2* [G :,1* !;„ss(t)+ b;*siMC(O) ]              (1)     using 16 QAM modulation with 1/2 error control coding . C2
where bi is ( when there is no MC signal and is 1 when an is set to 10 dB or 2 dB depending on whether the mobile
MC   signal is present. Similarly, G , is 0 when there is no 40 power    station control
                                                                                  is under     open loop power control or closed loop
                                                                                         . Power control for the DSSS signal also eases
DSSS signal and varies depending on the power setting of the
the DSSS signal relative to the MC signal when a DSSS the spectrum                       mask requirement for the DSSS signal because
                                                                              DSSS signal level is much lower than that of the MC
signal is present. G; , 2 is used to control the total transmission signal      .
power for user i . The received signal can be represented by : 45
                                                                            With total power offset of C1 + C2 subtracted from an
                                                                         initial transmission power of the DSSS signal , the spreading
                                                                 ( 2)    factor of the DSSS signal needs to be set high enough ( e.g. ,
       r ( t) = si (t) + N + 1                                           512 (27 dB ) or higher) so that the DSSS signal can be
              i= 1
                                                                         detected in normal conditions . This requires a sufficient
                                                                      50 number of bits of the A / D converter at the base station , for
where M is the total number of mobile station actively example                     , 12 bits .
communicating with the current base station , N is the station usesembodiment
                                                                            In  one                 , the D/A converter at the mobile
                                                                                        12 bits , among which 8 bits are targeted for the
Gaussian noise, and I is the total interference from all the MC                signal ( assuming 3 bits are reserved for MC peak to
mobile stations in current and other base stations .
   Denoting the received power of the MC signal as PMcand 55 average                consideration) . Thus, there are enough bits left for
                                                                         the DSSS signal even with significant attenuation relative to
the received power of the DSSS signal as Pss, the signal to the               MC signal.
interference and noise ratio ( SINR) for the MC signal is :              Canceling the Interference of DSSS Signal to the MC Signal
      SINRMC = PMC ( N + 1)                                      (3)        In one embodiment, the base station employs interference
                                                                      60 cancellation techniques to cancel the DSSS interference to
when the DSSS signal is not present; and is                              the MC signal . FIG . 12 illustrates a system for using an
      SINR'Mc = Pud ( N + I + PSS)                               (4)
                                                                         interference cancellation technique to cancel an interfering
                                                                         DSSS signal in a composite signal to obtain a clearer MC
when the DSSS signal is present. The system is designed signal. First , a DSSS signal is detected by the DSSS receiver
such that the SINR'mc meets the SINR requirement for the 65 1220 ; then it is subtracted ( decision directed ) from the total
MC signal and its performance is not compromised in spite received signal to obtain a cleaner MC data signal in the MC
of interference from the overlaid DSSS signal .                          receiver 1210 , as illustrated in FIG . 12. In another embodi
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ment, multiple step iterative cancellation can be applied to         interference with the uplink MC control signals 1504 , as
further improve the effectiveness of the interference cancel         illustrated in FIG . 15. One such scheme is to use sub
lation . The MC receiver basically performs a reverse process sampling such that the chip rate of the DSSS signal is 1/2 or
of the MC transmitter mentioned above . The MC synchro          2/3 of the system sampling rate, which means the DSSS
nization circuit carries out the synchronization in both time 5 spectrum will only occupy the center portion with a width of
                                                                5.76 MHz or 7.68 MHz out of the 10 MHz available
and frequency for the receiver to function properly. The spectrum
outputs of the P / S are information bits or symbols.                     1506 , as shown in FIG . 16. Its interference with
DSSS Signal Design                                                  the MC sub -carriers over the rest of the spectrum will be
                            chosen to have good autocorrelation much lower where the MC subchannels, carrying control
andDSSS
      crosssequences
            -correlationareproperties  (i.e. , with high peak to 10 information  or using
                                                                    16 QAM ) , are   placedhigher
                                                                                            . modulation subcarriers (such as
sidelobe ratio ). In one embodiment, pulse -shaping is applied Initial     Random Access Using the Overlay Scheme
to restrict the spectrum mask of DSSS signals and to reduce            FIG . 10 illustrates a DSSS signal used as initial random
impacts on the MC signals in the frequency domain . For            access by thetime
                                                                                 mobile station MS,, are
                                                                                                     1004transmitting
                                                                                                           , in an overlay system .
example , the transmitter pulse - shaping filter applied to the
DSSS signal can be a root -raised cosine ( RRC ) with roll-off
                                                                15 In the mean      , MS , and MS                      MC  signals
                                                                     to the base station BS ; 1002. In one embodiment of the
factor a in the frequency domain . The impulse response of           invention , the DSSS signal is used for initial random access
the chip impulse filter RCo ( t) is                                  and the MC signal is used by multiple mobile stations to
                                                                     transmit high rate data and related control information , as
                                                             ( 8)
                                                                  20 illustrated in FIG . 10. In this arrangement the mobile station
               sin(r 1( - 0))+47.cos(a ( 1 + a )
       RCo ( t) =
                                                                     MS, is transmitting its initial access DSSS signal simulta
                                                                     neously with the MC signals from other mobile stations (in
                        + ( 1- (447 )                                this case , MS , and MSK ) to the base station BS .
                                                                        In the initial random access of a multi - carrier multiple
                                                                  25 access system , a mobile station cannot transmit directly onto
where To is the chip duration .                                      the control subchannel because its transmission time and
   FIG . 13 illustrates a DSSS signal and a MC signal fully power have not been aligned with other mobile stations .
overlaid or partially overlaid with an MC symbol or slot When this mobile station powers up or wakes up from a
boundary in the time domain . The DSSS and the MC signals sleep mode , it first listens to a base station broadcasting
may be aligned at the symbol (or slot) boundary when they 30 channel and finds an available random access DSSS chan
are synchronized, or partially overlapped in the time domain nel . It then sends an initial random access signal over the
when they are not synchronized , as shown in FIG . 13 , where DSSS channel with a certain signature code or sequence that
a DSSS signal #m 1302 fully overlaps with a MC symbol (or is designated to the corresponding base station and is
slot) 1304 in time domain , while a DSSS signal #n 1306 broadcasted to all the mobile stations by each base station .
overlaps with the MC symbol (or slot) only partially.             35    The initial access DSSS signal arrives at the base station
   FIG . 14 illustrates a DSSS signal with a high Peak to together with MC signals from other mobile stations , each
Average Ratio in the frequency domain causing strong carrying data and control information . The initial power
interference to certain MC subcarriers. The sequence used to level of the DSSS signal is based on the open power loop
spread the DSSS signal has to be designed to avoid cases control settings. A sufficient guard period is reserved in the
where the DSSS signal may have a high Peak to Average 40 DSSS signal to account for initial time alignment uncer
ratio (PAR ) in the frequency domain and its spikes may tainty, as shown in FIG . 5 .
cause severe interference with some MC subcarriers, as                  If the base station successfully detects the DSSS signal , it
illustrated in FIG . 14. In one embodiment, the DSSS sends the acknowledgement (ACK) carrying information
sequence is designed so that, in partial or in full, it has low such as a signature or other unique mobile station identifier
PAR in the frequency domain using signal processing tech- 45 and power and time adjustments of the mobile on the
niques, such as a PAR reduction algorithm . Either binary or downlink control channel in the next available timeslot . The
non binary sequences can be used .                                   mobile station whose transmission signature matches that of
   In another embodiment, Golay complementary the acknowledgement then moves to the designated uplink
sequences , Reed - Muller codes , or the codes designed with MC control channel using the assigned time and power
similar construction methods may be used to control the 50 values and further completes the message transmission .
PAR of DSSS sequences in the frequency domain, thereby                  If no feedback is received at the mobile station after a
limiting the interference of DSSS signals to MC signals , pre -defined number of slots , it assumes that the access slot
which are demodulated in the frequency domain . In one was not detected by the base station, and will ramp up the
embodiment, guard periods are added to the DSSS signal transmission power of the DSSS signal by one step and
which overlaps with one MC symbol, as shown by DSSS 55 re - transmit it , until it reaches the maximum allowable trans
signal #p 1308 in FIG . 13. The guard periods ensure that a mit signal power or the maximum retry times . In one
well -designed DSSS sequence ( with low PAR in frequency embodiment, the power ramping step of the mobile station
domain ) causes little interference with the MC subcarriers is set to be 1 dB or 2 dB which is configured by the base
even when there is time misalignment in a DSSS signal station on the downlink broadcasting channel. The maxi
relative to the OFDM symbol period.                               60 mum allowable transmit signal power and the retry times are
   Within MC subcarriers , the control subcarriers are more also controlled by the base station depending on the uplink
important than the data subcarriers and may need to have a modulation /coding scheme and available access channels .
better protection in the overlay system .                            During the initial random access , the DSSS signal can also
   FIG . 15 illustrates using spectrum nulls in the DSSS be used for channel probing and short messaging .
signal 1502 to protect an MC control subchannel. In one 65 Channel Probing Using DSSS in the Overlay System
embodiment, the DSSS sequence is designed to have spec                  In one embodiment of the invention , the DSSS signal is
trum nulls at MC control subchannels to avoid excess                 used to assist estimation of channel characteristics . In this
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case , the mobile station is already synchronized in time and         The above detailed description of the embodiments of the
frequency with the base station , and its transmission of the      invention is not intended to be exhaustive or to limit the
MC signal is under closed- loop power control with the base        invention to the precise form disclosed above or to the
station .                                                          particular field of usage mentioned in this disclosure . While
   FIG . 17 illustrates examples of communications between 5 specific embodiments of, and examples for, the invention are
a base station 1702 and multiple mobile stations 1704 described above for illustrative purposes , various equivalent
transmitting both DSSS and MC signals. DSSS signal is modifications are possible within the scope of the invention ,
used for channel probing or to carry short messages . In this as those skilled in the relevant art will recognize. Also , the
case , MS; 1704 is transmitting both an MC signal and a 10 teachings of the invention provided herein can be applied to
DSSS signal to the base station BS ; 1702. It is also under other systems, not necessarily the system described above .
closed loop power control with the base station BS , 1702. In The elements and acts of the various embodiments described
FIG . 17 , the mobile station MS; 1704 is transmitting its above can be combined to provide further embodiments .
DSSS signal simultaneously with its own MC signal. Other           All of the above patents and applications and other
mobile stations (in this case , MS , 1704 and MSK 1704 ) are 15 references, including any that may be listed in accompany
transmitting either MC or DSSS signals to the base station ing filing papers, are incorporated herein by reference .
BS ; 1702 .                                                      Aspects of the invention can be modified , if necessary, to
   FIG . 18 illustrates a typical channel response in the time employ the systems , functions, and concepts of the various
domain 1802 and the frequency domain 1804. By estimating references described above to provide yet further embodi
the peaks of a channel response in the time domain 1802 , the 20 ments of the invention .
channel profile in the frequency domain 1804 can be                Changes can be made to the invention in light of the above
obtained . A typical channel response in the time domain and “ Detailed Description .” While the above description details
frequency domain for a broadband wireless system is shown certain embodiments of the invention and describes the best
in FIG . 18. Using a matched filter in the DSSS receiver at the mode contemplated , no matter how detailed the above
base station , the peaks of a channel response in time can be 25 appears in text, the invention can be practiced in many ways .
detected .                                                       Therefore, implementation details may vary considerably
   When closed loop power control is used , the initial power while still being encompassed by the invention disclosed
settings will be much more accurate than by using open loop herein . As noted above , particular terminology used when
power control alone . Thus, the margin reserved for power describing certain features or aspects of the invention should
control inaccuracy can be reduced to a much smaller value . 30 not be taken to imply that the terminology is being redefined
Furthermore, a bigger spreading factor can be used since no herein to be restricted to any specific characteristics, fea
data information needs to be conveyed in the DSSS signal . tures, or aspects of the invention with which that terminol
This leaves a dynamic range large enough for detecting ogy is associated .
multi-path peaks from the output of the match filter or            In general, the terms used in the following claims should
correlator, thereby generating a better channel profile. When 35 not be construed to limit the invention to the specific
and how often a mobile station should send the DSSS signal embodiments disclosed in the specification , unless the above
for channel probing is configurable by the network or the Detailed Description section explicitly defines such terms.
mobile station .                                                 Accordingly, the actual scope of the invention encompasses
   In one embodiment, the base station dictates the mobile not only the disclosed embodiments, but also all equivalent
station to transmit the channel probing DSSS when it needs 40 ways    of practicing or implementing the invention under the
                                                                 claims .
an update of the mobile station's channel characteristics. In
another embodiment, the base station polls the mobile                 While certain aspects of the invention are presented below
station during its silent period and gets an update of the in certain claim forms, the inventors contemplate the various
mobile station's information such as transmission timing aspects of the invention in any number of claim forms.
and power from the probing DSSS signal . In yet another 45 Accordingly, the inventors reserve the right to add additional
embodiment, the channel profile information is used by the claims after filing the application to pursue such additional
base station to determine the proper modulation / coding and claim forms for other aspects of the invention .
pilot pattern . In yet another embodiment, the channel profile
information is used for advanced antenna techniques such as           We claim :
beamforming. In one embodiment, channel probing with the 50           1. A communication method for a mobile device in an
DSSS signaling is performed without close loop power Orthogonal Frequency Division Multiplexing ( OFDM )
control or time synchronization .                                  communication system , the method comprising:
Short Message Using DSSS in the Overlay System                       receiving a request for a probing signal from a base station
   In one embodiment of the invention , the DSSS signal is              in the system ; and
used to carry short messages . In this case , the mobile station 55 transmitting, in response to the received request, the
is already synchronized in time and frequency with the base             probing signal with a code sequence modulated in the
station , and its transmission of a MC signal is also under             frequency domain , wherein :
closed - loop power control with the base station . As shown         the probing signal is configured to overlap, in the time
in FIG . 17 , the mobile station MS, is transmitting its DSSS           domain , with uplink signals transmitted over an uplink
signal carrying a short message simultaneously with its own 60          frequency band by other mobile devices in the system ;
MC signal . Other mobile stations in this case , MS , and              and
MSK ) are transmitting either the MC signal or DSSS signal           the probing signal is configured to occupy a portion of
to the base station BS ;. In this case , the short message carried      spectrum in the uplink frequency band not designated
by the DSSS signal has a much lower data rate compared                  for transmission of uplink control signals in the system .
with that of the MC signal . In another embodiment, short 65 2. The method of claim 1 , wherein the probing signal
messaging using the DSSS signaling is performed without provides information for the base station to estimate a
close loop power control or time synchronization.                  channel profile in the frequency domain .
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   3. The method of claim 2 , wherein the mobile device               the probing signal is configured to occupy a portion of
receives a subsequent transmission from the base station that            spectrum in the uplink frequency band not designated
has been beamformed using the estimated channel profile.                for transmission of uplink control signals in the system .
   4. The method of claim 1 , wherein the probing signal             16. The method of claim 15 , wherein transmission power
provides information for the base station to determine a 5 of the probing signal is under power control.
transmission format for a subsequent transmission .                  17. The method of claim 15 , wherein the probing signal
   5. The method of claim 4 , wherein the transmission enables the base station to estimate a channel profile in the
format comprises a modulation /coding or pilot pattern .          frequency domain .
   6. The method of claim 1 , wherein the portion of spectrum 10 18. The method of claim 17 , wherein the channel profile
is available for transmission of uplink data signals by other is used by the base station to determine a transmission
mobile devices in the system during a time period when the format for a subsequent transmission .
portion of the spectrum is not occupied by the probing               19. The method of claim 18 , wherein the transmission
signal.                                                           format comprises a modulation /coding or pilot pattern .
   7. The method of claim 1 , wherein the portion of spectrum 15 20. The method of claim 17 , wherein the channel profile
is within a center portion of the uplink frequency band and is used for beamforming in a subsequent transmission by the
subcarriers for the transmission of uplink control signals are base station to the mobile device .
within an outer portion of the uplink frequency band .               21. The method of claim 15 , wherein the portion of
   8. A communication method for a base station in an spectrum is available for transmission of uplink data signals
Orthogonal Frequency Division Multiplexing ( OFDM) 20 by other mobile devices in the system during a time period
communication system , the method comprising:                     when the portion of the spectrum is not occupied by the
   transmitting a request for a probing signal to a mobile probing signal.
      device in the system ; and                                     22. The method of claim 15 , wherein the portion of
   receiving the probing signal from the mobile device , spectrum is within a center portion of the uplink frequency
      wherein :                                                25 band and subcarriers for the transmission of uplink control
the probing signal contains a code sequence modulated in band     signals are within an outer portion of the uplink frequency
the frequency domain ;                                                  .
   the probing signal overlaps, in the time domain , with            23. A mobile device in an Orthogonal Frequency Division
                                                                  Multiplexing ( OFDM ) communication system , the mobile
      uplink signals transmitted over an uplink frequency 30 device
      band by other mobile devices in the system ; and                     comprising:
   the probing signal occupies a portion of spectrum in the          a receiver configured to receive a request for a probing
      uplink frequency band not designated for transmission              signal from a base station in the system ;
      of uplink control signals in the system .                      a transmitter  configured to form and transmit, in response
   9. The method of claim 8 , further comprising estimating , 35        to  the received request, the probing signal with a code
                                                                         sequence modulated in the frequency domain, wherein :
based on the received probing signal, a channel profile in the      the probing signal is configured to overlap, in the time
frequency domain .                                                       domain , with uplink signals transmitted over an uplink
   10. The method of claim 9 , further comprising using the              frequency band by other mobile devices in the system ;
channel profile to determine a transmission format for a                and
subsequent transmission over the channel.               40            the probing signal is configured to occupy a portion of
  11. The method of claim 10 , wherein the transmission                  spectrum in the uplink frequency band not designated
format comprises a modulation /coding or pilot pattern .              for transmission of uplink control signals in the system .
  12. The method of claim 9 , further comprising using the         24. The mobile device of claim 23 , wherein the probing
channel profile for beamforming in a subsequent transmis        signal provides information for the base station to estimate
sion to the mobile device .                                  45 a channel profile in the frequency domain .
   13. The method of claim 8 , wherein the portion of              25. The mobile device of claim 24 , wherein the mobile
spectrum is available for transmission of uplink data signals device is configured to receive a subsequent transmission
by other mobile devices in the system during a time period from the base station that has been beamformed using the
when the portion of the spectrum is not occupied by the estimated channel profile .
probing signal.                                              50    26. The mobile device of claim 23 , wherein the probing
   14. The method of claim 8 , wherein the portion of signal provides information for the base station to determine
spectrum is within a center portion of the uplink frequency a transmission format for a subsequent transmission .
band and subcarriers for the transmission of uplink control        27. The mobile device of claim 26 , wherein the transmis
signals are within an outer portion of the uplink frequency sion format comprises a modulation /coding or pilot pattern.
band.                                                        55    28. The mobile device of claim 23 , wherein the portion of
   15. A communication method for an Orthogonal Fre             spectrum is available for transmission of uplink data signals
quency Division Multiplexing ( OFDM ) communication sys by other mobile devices in the system during a time period
tem , the method comprising:                                    when the portion of the spectrum is not occupied by the
   sending a request for a probing signal to a mobile device probing signal.
      from a base station in the system ; and                60    29. The mobile device of claim 23 , wherein the portion of
   responding by the mobile device to the request by trans spectrum is within a center portion of the uplink frequency
      mitting the probing signal with a code sequence modu      band and subcarriers for the transmission of uplink control
     lated in the frequency domain , wherein :                 signals are within an outer portion of the uplink frequency
  the probing signal is configured to overlap , in the time band .
     domain , with uplink signals transmitted over an uplink 65 30. A base station in an Orthogonal Frequency Division
     frequency band by other mobile devices in the system ; Multiplexing (OFDM) communication system , the base
     and                                                       station comprising:
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                             13                                                                14
   a transmitter configured to transmit a request for a probing      33. The base station of claim 32 , wherein the transmission
      signal to a mobile device in the system , and               format comprises a modulation /coding or pilot pattern .
   a receiver configured to receive the probing signal from          34. The base station of claim 31 , further comprising using
      the mobile device , wherein :
   the probing signal contains a code sequence modulated in 5 the     channel profile for beamforming in a subsequent trans
                                                                  mission to the mobile device .
      the frequency domain ;
  the probing signal overlaps, in the time domain , with             35. The base station of claim 30 , wherein the portion of
      uplink signals transmitted over an uplink frequency spectrum is available for transmission of uplink data signals
      band by other mobile devices in the system ; and            by other mobile devices in the system during a time period
   the probing signal occupies a portion of spectrum in the 10 when the portion of the spectrum is not occupied by the
      uplink frequency band not designated for transmission probing signal.
      of uplink control signals in the system .                      36. The base station of claim 30 , wherein the portion of
   31. The base station of claim 30 , wherein the receiver is spectrum
further configured to estimate , based on the received probing band and issubcarriers
                                                                               within a center portion of the uplink frequency
                                                                                         for the transmission of uplink control
signal, a channel profile in the frequency domain .
   32. The base station of claim 31 , further comprising using 15 band
                                                                  signals are within an outer portion of the uplink frequency
                                                                       .
the channel profile to determine a transmission format for a
subsequent transmission over the channel.
